Case 2:04-cr-20330-SH|\/| Document 90 Filed 06/23/05 Pagelon Page|D 09

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

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UNITED STATES OF AMERICA VVD OFTN NMWHNS
VS. CR. NO. 04-20330-Ma

SAMMIE FORD ,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Before the court is defendant's June 22, 2005, motion
requesting continuance of the report date set June 24, 2005. The
continuance is necessary to allow for additional preparation in the
case.

The Court grants the motion and continues the trial date to
August l, 2005, at 9:30 a.m. with a report date of July 22, 2005,
at 2:00 p.m.

The period from July 155 2005, through August 12, 2005, is
excluded. under‘ 18 U.S.C. § 3161(h)(8)(B)(iv) to allow' defense
counsel additional time to prepare.

I'r Is so oRDERED this the ‘7~_3___'< day of June, 2005

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 90 in
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Honorable Samuel Mays
US DISTRICT COURT

